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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
(HONORABLE THOMAS J. WHELAN)

UNITED STATES OF AMERICA, CASE NO: 18-CR-5029-W-1
Plan, ) NOTICE OF
vs. ) ACKNOWLEDGMENT OF NEXT
USTIN TRAVIS DEMPSEY COURT APPEARANCE OF
’ ) DEFENDANT AUSTIN DEMPSEY
Defendant )

 

 

TO THE COURT AND THE UNITED STATES ATTORNEY’S OFFICE:

I, Austin Dempsey, hereby acknowledge that my next Court appearance has
been scheduled for September 16, 2019, before the Honorable Thomas J. Whelan.
I promise to appear on September 16, 2019 at 9:00 a.m. in Courtroom 3C of the
above-entitled Court.

Dated: 7/9/2019 Signed: O— Sy
Defendant

AUSTIN DEMPSEY

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